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                                  1:15-cv-05174-JBW-RLM

                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF NEW YORK


                                   MAXIE DACOSTA,

                                                                                   Plaintiff,

                                                           -against-

                                   THE CITY OF NEW YORK, DETECTIVE DAVID
                                   SHAPIRO (Shield #6054), and P.O.’s “JOHN AND
                                   JANE DOE” #1 through #20, individually and in their
                                   official capacities (the names “John and Jane Doe” being
                                   fictitious, as their true names of these individuals are
                                   presently unknown),

                                                                               Defendants.


                                      MEMORANDUM OF LAW IN SUPPORT OF
                                          DEFENDANTS’ MOTION FOR
                                             RECONSIDERATION


                                              ZACHARY W. CARTER
                                              Corporation Counsel of the City of New York
                                              Attorney for Defendants
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                                    PLAINTIFF’S MOTION FOR LEAVE TO AMEND
                                    THE COMPLAINT BECAUSE NEITHER THE
                                    OFFICE OF THE CORPORATION COUNSEL
                                    NOR DEFENDANTS WERE ON NOTICE THAT
                                    DETECTIVE TRANCHINA WAS INVOLVED IN
                                    THE UNDERLYING CRIMINAL CASE DURING
                                    THE APPLICABLE LIMITATIONS PERIOD AND
                                    BECAUSE DETECTIVE TRANCHINA was not ON
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------------- x


  MAXIE DACOSTA,                                                              DEFENDANTS’
                                                                              MEMORANDUM OF LAW
                                                               Plaintiff,     IN SUPPORT OF THEIR
                                                                              MOTION FOR
                                -against-                                     RECONSIDERATION
  THE CITY OF NEW YORK, DETECTIVE DAVID                                       1:15-cv-05174-JBW-RLM
  SHAPIRO (Shield #6054), and P.O.’s “JOHN AND JANE
  DOE” #1 through #20, individually and in their official
  capacities (the names “John and Jane Doe” being fictitious,
  as their true names of these individuals are presently
  unknown),

                                                           Defendants.

  ----------------------------------------------------------------------- x


          Defendants City of New York (“City”) and David Shapiro (“Shapiro”), by their attorney,

  Zachary W. Carter, Corporation Counsel of the City of New York, respectfully submit this

  Memorandum of Law in support of their motion for reconsideration pursuant to Rule 6.3 of the

  of the Local Civil Rules of the United States District Court for the Southern and Eastern Districts

  of New York.

                                       PRELIMINARY STATEMENT

          By Order dated November 8, 2017, the Court granted plaintiff’s motion for leave to

  amend the complaint to name Detective Fortunato Tranchina as a defendant in place of defendant

  Shapiro, reversing Magistrate Judge Mann’s Report and Recommendation. See Docket No. 84.

  Defendants City and Shapiro now respectfully move for reconsideration pursuant to Rule 6.3 of

  the Local Civil Rules of the United States District Court for the Southern and Eastern Districts of

  New York.
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          The Office of the Corporation Counsel and defendants take their ethical and legal

  obligations very seriously. As such, any decision which finds that this Office acted unethically is

  troubling both to the Office as a whole and the attorneys involved. However, in reaching its

  decision, the Court overlooked a critical fact, which led the Court to believe that this Office had

  notice of a fact that it did not have, which has resulted in the Court shifting the blame for

  plaintiff’s counsel’s lack of diligence in filing and pursuing plaintiff’s lawsuit over the course of

  the past five years onto the defendants who, at all times, fully and timely complied with both

  their legal and ethical obligations.

          It was plaintiff’s dilatory tactics, not defendants, that prevented the Office of the

  Corporation Counsel and defendants from learning what plaintiff and plaintiff’s counsel knew or

  should have known along. Specifically, plaintiff’s counsel repeatedly refused to produce a

  timely release permitting disclosure of plaintiff’s sealed arrest records. Absent such release,

  neither the Office of the Corporation Counsel nor the defendants were on notice, or legally could

  have been on notice, that Detective Tranchina was a potential defendant. As such, this Office

  was not in a position to alert Detective Tranchina that he may be added as a party to the lawsuit

  until after the statute of limitations had expired.

          In fact, it was not until three months after the statute of limitations has expired, and then

  only under threat of sanctions by the Court, that plaintiff’s counsel finally furnished the requisite

  release. Yet, here again, plaintiff’s counsel failed to act promptly. Although the documents

  produced during discovery clearly identify Detective Tranchina as both the investigating and

  arresting officer for the robbery charges, plaintiff failed to take timely measures to name

  Detective Tranchina as a party. Instead, after receiving the pertinent paperwork establishing that

  plaintiff had named the wrong individual, plaintiff ignored the Court-ordered deadline to amend




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  the complaint to add new parties and waited nearly an additional six months to move to amend

  the complaint to add Detective Tranchina as a party. From the very beginning, the fault for the

  delay in identifying Detective Tranchina lies squarely with plaintiff.

         Indeed, absent negligence or reckless disregard on the part of plaintiff’s counsel, the only

  other explanation is that plaintiff purposely chose not to name Detective Tranchina as a

  defendant within the applicable limitations period. Again, prior to producing the release, which

  defendants requested on at least six occasions over the span of two and a half years, and which

  the Court directed plaintiff to provide on three separate occasions, only plaintiff knew of

  Detective Tranchina’s involvement. Whether plaintiff’s failure to name him as a defendant was

  strategic or neglect, the result should be the same. Because neither this Office nor Detective

  Tranchina had notice that Detective Tranchina was a proper party, plaintiff’s claims against

  Detective Tranchina do not relate back and, accordingly, plaintiff’s motion for leave to amend

  should be denied.1

              LOCAL CIVIL RULE 6.3 STANDARD FOR RECONSIDERATION

         A motion for reconsideration should be granted where “the moving party can point to

  controlling decisions or data that the court overlooked—matters, in other words, that might

  reasonably be expected to alter the conclusion reached by the court.” Shrader v. CSX Transp.,

  Inc., 70 F.3d 255, 257 (2d Cir. 1995). Pursuant to Rule 6.3 of Local Civil Rules of the United

  States District Courts for the Southern and Eastern Districts of New York, the Court may grant a

  motion to reconsider a prior decision to “‘correct a clear error or prevent manifest injustice.’”

  Medisim Ltd. v. BestMed LLC, No. 10 Civ. 2463 (SAS), 2012 U.S. Dist. LEXIS 56800, at *2 -*3

  (S.D.N.Y. Apr. 23, 2012) (citation omitted). As explained below, there are two separate matters
  1
     Defendants also respectfully submit that, in its Order, the Court has misapplied the applicable
  and controlling law and, therefore, reserves the right to object on those grounds.



                                                   3
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  that defendants respectfully submit that the Court overlooked that “might reasonably be expected

  to alter the conclusion reached.”

                                             ARGUMENT

                                              POINT I

                         THE COURT ERRED IN GRANTING
                         PLAINTIFF’S MOTION FOR LEAVE TO
                         AMEND THE COMPLAINT BECAUSE
                         NEITHER    THE    OFFICE     OF    THE
                         CORPORATION        COUNSEL         NOR
                         DEFENDANTS WERE ON NOTICE THAT
                         DETECTIVE TRANCHINA WAS INVOLVED
                         IN THE UNDERLYING CRIMINAL CASE
                         DURING THE APPLICABLE LIMITATIONS
                         PERIOD AND BECAUSE DETECTIVE
                         TRANCHINA WAS NOT ON NOTICE OF
                         THE   LAWSUIT     PRIOR     TO     THE
                         EXPIRATION OF THE STATUTE OF
                         LIMITATIONS____________________________

         The Court’s holding that plaintiff’s Second Amended Complaint, seeking to add

  Detective Tranchina as a defendant, relates back to the filing of plaintiff’s original complaint

  relies on two errors of fact. First, that the Office of the Corporation Counsel knew or should

  have known, prior to the expiration of the statute of limitations, that Detective Tranchina was a

  proper party, and second, that this Office was the cause of the delay in identifying Detective

  Tranchina. As a result, in its Order, the Court held, inter alia, that “it was the Corporation

  Counsel’s duty to bring to the attention of Plaintiff’s counsel before the filing of the civil 1983

  complaint in a clear way all of the documents and information that showed that Detective

  Tranchina should have been named as a defendant.” Memorandum and Order at 51, Docket No.

  84. The Court further held that “[p]laintiff was not afforded the opportunity to file his initial

  complaint against the correct officer because the Corporation Counsel did not supply him with

  the necessary information to do so.” Id.



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         In reaching its decision, the Court overlooked a critical fact. As is often the situation in

  cases alleging civil rights violations, the criminal record detailing the facts at issue in the

  subsequent civil lawsuit is sealed. Absent a signed release, the City does not have access to the

  pertinent facts. As explained below, plaintiff’s counsel ignored the defendants’ repeated requests

  for a signed release. Indeed, plaintiff’s counsel did not provide this release until three months

  after the statute of limitations expired, and even then only after being directed to do so by the

  Court or face sanctions.

         Because of plaintiff’s counsel’s delay, the Office of the Corporation Counsel did not have

  access to the information the Court now faults it for not turning over during the applicable statute

  of limitations. As such, even assuming, arguendo, there was an obligation to advise plaintiff,

  who has been represented by counsel since at least January 2013, see Transcript of Oral

  Argument at 40:3-8, who he should name as a defendant(s), neither the Office of the Corporation

  Counsel nor the defendants could have met that obligation without violating the law, specifically

  New York Criminal Procedure Law § 160.50.2

         Pursuant to New York Criminal Procedure Law § 160.50(1),

                 [u]pon the termination of a criminal action or proceeding against a
                 person in favor of such person . . . the record of such action or
                 proceeding shall be sealed and the clerk of the court wherein such
                 criminal action or proceeding was terminated shall immediately
                 notify the commissioner of the division of criminal justice services

  2
      It should also be noted that neither in his Notice of Claim (which did not even relate to his
  robbery arrest and prosecution), 50-h testimony or complaint did plaintiff provide sufficient
  information to identify Detective Tranchina without the assistance of sealed records. For
  example, plaintiff did not provide a rank, badge or shield number, or any physical description of
  Detective Tranchina.

  In addition, defendant Shapiro could not have identified Detective Tranchina because he did not
  know who Detective Tranchina was and did not know that Detective Tranchina was involved in
  the robbery investigation. See Shapiro Dep. at 28:23-24, 34:7-35:4, annexed to the Declaration
  of Kavin Thadani dated November 22, 2017 (‘Thadani Decl.”) as Exhibit A.



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                 and the heads of all appropriate police departments and other law
                 enforcement agencies that the action has been terminated in favor
                 of the accused, and unless the court has directed otherwise, that the
                 record of such action or proceeding shall be sealed.”

  Section 160.50(1) further states that “[u]pon receipt of notification of such termination and

  sealing . . . all official records and papers . . . relating to the arrest or prosecution . . . on file

  with the division of criminal justice services, any court, police agency, or prosecutor’s office

  shall be sealed and not made available to any person or public or private agency.” N.Y. Crim.

  Pro. Law § 160.50(1)(c) (emphasis added).

         However, the Criminal Procedure Law provides that “such records shall be made

  available to the person or accused or to such person’s designated agent.” N.Y. Crim. Pro. Law §

  160.50(1)(d). Thus, a plaintiff “has a form of limited control over the sealed documents since he

  can, by executing [a] release[], cause the [sealed] files to be made accessible to the City.”

  Cabbie v. Rollieson, No. 04 Civ. 9413 (LTS)(FM), 2006 U.S. Dist. LEXIS 7385, at *27-28

  (S.D.N.Y. Feb. 24, 2009) (noting that, pursuant to § 160.50, the City’s own files and records are

  sealed and thus not in the City’s “possession, custody and control,” and that the City is unable to

  access such files and records without a proper release).3

         On May 17, 2013, counsel appearing on behalf of the City at the hearing held pursuant to

  General Municipal Law Section 50-h explicitly requested a § 160.50 release from plaintiff’s

  counsel. See 50-h Hearing Transcript at 36:4-16, Thadani Decl., Ex. B. Plaintiff’s counsel

  responded that he would take the request “under advisement,” however plaintiff never did

  produce the requested release, despite the representation that the request would be “resolved

  quickly.” Id. at 36:17-19. As a result of plaintiff’s failure to produce the requisite release,
  3
     The New York Courts website also describes who has access to sealed records. See Sealed
  Criminal Records, http://www.nycourts.gov/courthelp/criminal/sealedrecords.shtml (last visited
  Nov. 22, 2017).



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   neither the Office of the Corporation Counsel nor defendant City was able to access any records

   which would assist in identifying Detective Tranchina as a potential defendant.

           Even after plaintiff’s lawsuit was filed, plaintiff continued to ignore defendants’ requests

   for a signed release. As explained in defendant City’s letter dated October 1, 2015, which sought

   an extension of time to answer or otherwise respond to plaintiff’s complaint, defendant City was

   unable to request and review the underlying police, district attorney and criminal court records

   because “[a]s plaintiff alleges that the criminal charges against him were dismissed, all records

   pertaining to the incident would be sealed pursuant to New York [Criminal] Procedure Law §

   160.50” Docket No. 12. Thus, defendant City explained that it was “in the process of obtaining

   a validly executed § 160.50 release.” Id. This letter was filed just two weeks after the City was

   served with the complaint.

           On October 1, 2015, the Court granted defendant City’s application and further ordered

   that “[c]ounsel are directed to promptly arrange for the preparation, execution and processing of

   the referenced release.” See Civil Docket Sheet. In accordance with that Order, defendant City

   requested, by letter dated October 2, 2015, that plaintiff execute a § 160.50 release and return the

   release within one week. See Oct. 2, 2015 Letter, Thadani Decl., Ex. C. Defendant City further

   explained that “[u]ntil the executed designation is received by this office, we cannot secure the

   relevant documents” and that “[y]our failure to promptly return this release will unduly delay this

   litigation.” Id.

           Once again, plaintiff failed to provide the requested release, forcing the City, on

   November 9, 2015, to send another letter requesting that plaintiff execute a § 160.50 release and

   return the release within one week. See Nov. 9, 2015 Letter, Thadani Decl., Ex. D. This letter

   again explained that “until the executed designation is received by this office, we cannot secure




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   the relevant documents” and further cautioned that “[y]our failure to promptly return this

   designation continues to delay this litigation.” Id.4

             Despite these repeated requests, plaintiff still did not produce a § 160.50 release,

   necessitating a second request for an extension of time to answer or otherwise respond to

   plaintiff’s complaint.5 See Docket No. 14. This second request was filed on December 4, 2015.

   See id.

             On December 7, 2015, the Court granted defendant City’s application and directed

   plaintiff “on pai[n] of sanctions, to provide defense counsel with a validly executed release by

   December 10, 2015.” See Civil Docket Sheet.

             Plaintiff, after being threatened by the Court with sanctions, and after failing to

   previously produce the release after six requests, dating back more than two and a half years, to

   May 17, 2013, finally produced the § 160.50 release on December 10, 2015. See Dec. 10, 2015

   E-mail, Thadani Decl., Ex. F.

             Although the Court found that “[p]laintiff demonstrated good cause in failing to add

   Detective Tranchina prior to the July 28, 2016 deadline for amending pleadings because of the

   dilatory tactics by Corporation Counsel,” Memorandum and Order at 54, Docket No. 84, the

   record in no manner supports this finding.

             To the contrary, it was plaintiff, and not defendants, who delayed the proceedings. It was

   not until after the release was finally received that defendants were able to request, obtain, and


   4
      Defendant City also followed up for the § 160.50 release by e-mail on October 27, 2015,
   explaining that, without the release, “we will not be able to access the relevant paperwork.”
   E-mail Correspondence, Thadani Decl., Ex. E.
   5
      Defendant City also followed up for the § 160.50 release by e-mail on November 19, 2015
   and December 3, 2015, explaining that “[s]ince we still do not have the 160.50, we haven’t had
   access to any documents.” See E-mail Correspondence, Thadani Decl., Ex. E.



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   review the documents that revealed Detective Tranchina’s involvement in the underlying

   investigation and arrest.6   Shortly after that time – certainly by February 26, 2016, when

   defendants filed a motion to dismiss explaining, inter alia, that Detective Tranchina signed the

   criminal court complaint, see Defendants’ Memorandum of Law in Support of their Motion to

   Dismiss at 7, 10, Docket No. 18, and certainly no later than June 30, 2016, two days after the

   parties’ Initial Conference, when defendants produced their Fed. R. Civ. P. 26(a)(1)(A) initial

   disclosures more than a week before the Court-ordered deadline, see Docket No. 29, which

   explicitly identified Detective Tranchina and enclosed the pertinent police and criminal court

   paperwork – it was manifestly clear that Detective Tranchina should have been named as a

   defendant. Yet, plaintiff took no action until more than six months later, in January 2017.7

          As a result of plaintiff’s dilatory tactics, neither the Office of the Corporation Counsel

   nor the defendants were on notice that Tranchina should have been named as a defendant within

   the applicable limitations period. It would have been both unethical and illegal for the Office of

   the Corporation Counsel or defendants to access any paperwork which would have indicated that

   Detective Tranchina was a potential defendant prior to the time that plaintiff produced a proper §

   160.50 release. Therefore, defendants could not have timely informed plaintiff of Detective



   6
       In pro se matters, a court’s Valentin order operates as a release and authorizes the New York
   City Police Department to turn over sealed records to the Office of the Corporation Counsel so
   that the appropriate individuals can be identified.
   7
       Although plaintiff claims that he required a deposition of Detective Tranchina before being
   able to assess whether he should be properly named a defendant, plaintiff’s claim is wholly
   without merit. Even a cursory review of Detective Tranchina’s deposition transcript
   demonstrates that plaintiff’s counsel spent the deposition simply showing Detective Tranchina
   documents disclosed during discovery and having him confirm the events they described.
   Plaintiff’s counsel did not obtain any significant additional information whatsoever concerning
   Detective Tranchina’s involvement that was not readily apparent from the documents previously
   disclosed during discovery.



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   Tranchina’s involvement or “informed Detective Tranchina as the inception [of] – or before – the

   lawsuit about [plaintiff’s] claims against him.” Memorandum and Order at 57, Docket No. 84.

          Finally, as this Court recognized, a key component for a complaint adding a new party to

   relate back is that the individual to be added “‘knew or should have known that [he] would have

   been named as a defendant but for an error.’” Id. at 31 (quoting Krupski v. Costa Crociere

   S.p.A., 560 U.S. 538, 548 (2010)). Here, because of plaintiff’s dilatory tactics, this Office could

   not have known that plaintiff had named the wrong party, or that Detective Tranchina was a

   proper party, until more than three months after the statute of limitations expired. Therefore, the

   attorneys for defendants could not have alerted Detective Tranchina that he would likely be

   named as a party prior to the expiration of the statute of limitations.         Further, Detective

   Tranchina testified that he did not learn of the lawsuit until November 2016. See Transcript of

   Oral Argument at 29:13-15. Consequently, plaintiff cannot meet a necessary element of the

   relation back doctrine under both state and federal law. See id.; see also Buran v. Coupal, 661

   N.E.2d 978, 983 (N.Y. 1995).

           Accordingly, plaintiff’s claims do not relate back and, thus, plaintiff’s motion for leave

   to amend should be denied.




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                                                POINT II

                          PLAINTIFF’S MOTION FOR LEAVE TO
                          AMEND THE COMPLAINT SHOULD ALSO
                          BE DENIED BECAUSE PLAINTIFF WAS
                          AWARE OF DETECTIVE TRANCHINA’S
                          INVOLVEMENT AND PURPOSELY CHOSE
                          NOT TO NAME HIM AS A DEFENDANT
                          WITHIN THE APPLICABLE LIMITATIONS
                          PERIOD__________________________________

          Magistrate Judge Mann’s Report and Recommendation also properly denied plaintiff’s

   motion for leave to amend the complaint because plaintiff cannot demonstrate that his failure to

   name Detective Tranchina was a mistake. “When a plaintiff intentionally decides not to assert a

   claim against a party known to be potentially liable, there has been no mistake and the plaintiff

   should not be given a second opportunity to assert that claim after the limitations period has

   expired.” Buran, 661 N.E.2d at 983 (emphasis added).

          Although plaintiff has stated that he did not know the identity of Detective Tranchina, the

   record clearly establishes that, at least by April 24, 2008, more than seven years before the

   expiration of the statute of limitations, plaintiff, or at least plaintiff’s criminal defense counsel,

   was made aware of his identity, while the criminal case was pending. See, e.g., Queens County

   District Attorney’s Office Notice, Thadani Decl., Ex. G (demonstrating that plaintiff was on

   notice that the complaining victim identified him in both a photo array and lineup to Detective

   Tranchina). It is also, of course, implausible that plaintiff, or at least plaintiff’s criminal defense

   counsel, was not fully aware of the identity of the investigating and arresting officer while the

   criminal case was pending for over four years.

          Thus, despite his self-serving representations, plaintiff knew, or at the very least should

   have known, that Detective Tranchina was potentially liable as a defendant well before the

   expiration of the statute of limitations. Yet, either he, or his attorneys, or both, purposely chose



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   not to name him as a defendant.8       As a result, plaintiff’s claims do not relate back and,

   accordingly, plaintiff’s motion for leave to amend should be denied.

                                           CONCLUSION

          For the foregoing reasons, defendants City and Shapiro respectfully request that the Court

   grant their motion for reconsideration in its entirety and deny plaintiff’s motion for leave to

   amend the complaint to add Detective Tranchina as a defendant, with prejudice, together with

   costs and fees the Court deems just and proper.

   Dated: New York, New York
          November 22, 2017

                                                ZACHARY W. CARTER
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                                                Attorney for Defendants
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                                                (212) 356-2351


                                                By:       /s/ Kavin Thadani
                                                          Kavin Thadani
                                                          Senior Counsel
                                                          Special Federal Litigation Division


   TO:    VIA ECF
          Kim Richman, Esq.
          Clark Binkley, Esq.
          Attorneys for Plaintiff




   8
       Indeed, plaintiff expressly admits that it was his belief that, despite the records, defendant
   Shapiro was “the puppet master.” Transcript of Oral Argument at 8:19-9:7, 40:13-17. Plaintiff
   was plainly aware of Detective Tranchina’s involvement and, instead of naming him as a
   defendant in addition to defendant Shapiro, he purposely chose not to name Detective Tranchina
   at all.



                                                     12
